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                    Joint Exhibit List Between PFU and KL


  Ex.     Bates Number & Deposition      Date     Description
  No.           Exhibit Number
   1     KNOWLEDGELAKE00001700          6/25/15   Email from Gary Wahlig to
                                                  accounting@knowledgelake.c
                                                  om, Walmart app/dev invoices
                                                  for April 2015 and May 2015
                                                  have been resubmitted
   2    KNOWLEDGELAKE00003642-         12/13/17   KnowledgeLake Maintenance
                00003644                          Renewal Process for Walmart
   3      PFU_0002387-00002393          2/2/18    Email from Kenjiro Tsurumi
                                                  to Ron Cameron, RE: KL
                                                  purchase
   4       PFU_00002718-00002719        2/15/18   Invoice from KnowledgeLake
                                                  to Walmart
   5       PFU_00002694-00002695        3/19/18   Email from Bernie Schweiss to
                                                  Hiroshi Haruki, Walmart
                                                  Maintenance - Payment
   6     KNOWLEDGELAKE00000069          3/21/18   Email from Yasuhiro Ogura to
                                                  Robin Heisler and Dot Vigil,
                                                  RE: Cash receive; Walmart’s
                                                  A/R
   7       PFU_00002716-00002719        3/21/18   Email from Yasuhiro Ogura to
                                                  Dot Vigil, RE: Cash receive;
                                                  Walmart’s A/R
   8       PFU_00002725-00002726        3/21/18   Email from Bernie Schweiss to
                                                  Kenjiro Tsurumi, Erick Ong,
                                                  and Hiroshi Haruki, payment
                                                  is overdue for KnowledgeLake
                                                  invoice #171212240
   9       PFU_00002744-00002748        3/21/18   Email from Kenjiro Tsurumi
                                                  to Ron Cameron, RE: Your
                                                  Concern – CONFIDENTIAL
   10                                   3/21/18   Email from Bernie Schweiss to
                                                  Gary Wahlig and Bernie
                                                  Schweiss, Conversation with
                                                  Gary Wahlig
   11          PFU_00002712             3/21/18   Email from Kenjiro Tsurumi
                                                  to Ron Cameron, RE:
                                                  Immediate Concern -
                                                  CONFIDENTIAL
   12      PFU_00003770-00003771        3/21/18   Email from Robin Heisler to
                                                  Ron Cameron, Fw: walmart
                                                  email
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   13          PFU_00002720            3/21/18    Email from Bernie Schweiss to
                                                  Kenjiro Tsurumi, Teledyne
   14      PFU_00002776-00002779       3/22/18    Email from Ron Cameron to
                                                  Kenjiro Tsurumi, Re: KL’s
                                                  Cash
   15      PFU_00003271-00003272       4/2/18     Email from Kenjiro Tsurumi
                                                  to Yuji Matsuno, FW:
                                                  [Japanese characters]:
                                                  Stipulated to Translate to
                                                  English
   16   KNOWLEDGELAKE00002013-        8/28/2018   Email from Dot Vigil to
               00002014                           Teledyne, KnowledgeLake
                                                  Invoice 18080131
   17   KNOWLEDGELAKE00009481-         10/2/18    Email from Robin Heisler to
               00009482                           Christy Gary, Re: official
                                                  notification received from
                                                  Walmart
   18   KNOWLEDGELAKE00009472-        10/18/18    Email from Robin Heisler to
               00009473                           Kevin Terrasi, RE: follow up
                                                  to meeting 10/12
   19      PFU_00003774-00003775      11/15/18    Email from Bernie Schweiss to
                                                  Kenjiro Tsurumi, FW:
                                                  Congratulations and
                                                  Opportunity
   20                                   9/3/19    Complaint
   21                                  5/27/20    Defendant’s Answer and
                                                  Affirmative Defenses to
                                                  Complaint
   22                                  8/4/20     Rule 26(a)(1) Initial
                                                  Disclosures of Plaintiff
                                                  KnowledgeLake
   23                                  8/4/20     Defendant’s Rule 26(a)(1)
                                                  Initial Disclosures
   24                                 10/31/20    KnowledgeLake, Inc.’s
                                                  Responses and Objections to
                                                  PFU America, Inc.’s First Set
                                                  of Requests for Production
   25                                 11/19/20    Defendant PFU America,
                                                  Inc.’s Responses to Plaintiff’s
                                                  First Requests for Production
   26      PFU_00002823-00002861       3/23/18    Stock Purchase Agreement
   27                                   5/3/21    Defendant PFU America,
                                                  Inc.’s Responses and
                                                  Objections to Plaintiff’s
                                                  Interrogatories, Set One
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   28                                  5/13/21    Plaintiff’s Responses and
                                                  Objections to Defendant’s
                                                  First Set of Requests for
                                                  Admission to Plaintiff
   29                                 June 2021   Resume of Bernie Schweiss
   30          PFU_00003769            3/26/18    Old KL bank statement re
                                                  deposit of payment from
                                                  Walmart
   31   KNOWLEDGELAKE000005701         3/20/18    Email from Marsha Moffett to
                                                  Dot Vigil, RE: Conversation
                                                  following up on past due
                                                  invoices to Walmart
   32   KNOWLEDGELAKE000006229         9/18/20    Email from Robin Heisler to
              -000006233                          Robin Heisler and Chris
                                                  Swiecicki and Ron Cameron,
                                                  RE: Reports with attachments
                                                  of Walmart AR Aging
                                                  3/31/18, Walmart Avg Days to
                                                  Pay and AR Aging 3/23/18
   33          PFU_00002343            1/25/18    Email from Bernie Schweiss to
                                                  Kenjiro Tsurumi and Erick
                                                  Ong
   34    KNOWLEDGELAKE00000138         2/1/18     Email from Marsha Moffett to
                                                  Dot Vigil, RE: Walmart
                                                  Invoices 17110195
   35   KNOWLEDGELAKE000005698         3/9/18     Email from Bernie Schweiss to
                                                  Dot Vigil, RE: Conversation
                                                  with Bernie Schweiss; about
                                                  Steven Hovis signing upgrade
                                                  forms
   36   KNOWLEDGELAKE000005710         3/15/18    Email from Gary Wahlig to
              -000005711                          Dot Vigil, Marsha Moffett,
                                                  Chrisha Cooper, and Teresa
                                                  Pisciotta, RE: Pending
                                                  Walmart Invoices
   37   KNOWLEDGELAKE000005712         4/4/18     Email from Dot Vigil to Gary
                                                  Wahlig, RE: Aging Report for
                                                  Walmart
   38   KNOWLEDGELAKE000005713         3/20/18    Email from Bernie Schweiss to
                                                  Dot Vigil, RE: CSPro Sales for
                                                  PFU
   39   KNOWLEDGELAKE000005714         3/19/18    Email from Kenji Tsurumi to
              -000005715                          Bernie Schweiss, RE: KL
                                                  Impacts
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   40   KNOWLEDGELAKE000005716         1/29/18   Email from Bernie Schweiss to
              -000005717                         Steven Hovis, RE: localization
                                                 and translation
   41   KNOWLEDGELAKE000005718         1/31/18   Email from Bernie Schweiss to
                                                 Gary Wahlig, RE: Accepted:
                                                 FY2019 contract negotiations
                                                 w/ Walmart VMO
   42   KNOWLEDGELAKE000005719         1/31/18   Email from Bernie Schweiss to
                                                 Nadia Calderon, RE:
                                                 Accepted: KnowledgeLake
                                                 Meeting to discuss Walmart
                                                 Contract
   43   KNOWLEDGELAKE000005720         2/5/18    Email from Bernie Schweiss to
                                                 Gary Wahlig, RE: Accepted:
                                                 Walmart account strategy
                                                 session
   44   KNOWLEDGELAKE000005721         3/22/18   Email from Steven Hovis to
                                                 Hiroshi Haruki, Jen Webb, and
                                                 Bernie Schweiss, RE: Business
                                                 Justification Memo Final
                                                 7_5_16
   45   KNOWLEDGELAKE000005722         2/8/18    Email from Steven Hovis to
              -000005723                         Bernie Schweiss, RE: Walmart
                                                 FY2019 contracts for
                                                 KnowledgeLake
   46   KNOWLEDGELAKE000005725         2/18/18   Email from Bernie Schweiss to
              -000005726                         Kent Khmeier, cc Chris Allen,
                                                 RE: Thanks and Checking In
   47   KNOWLEDGELAKE000005727         1/22/18   Email from Bernie Schweiss to
              -000005728                         Steven Hovis, Gary Wahlis, cc
                                                 Zach Lewis, RE: Important
                                                 information regarding your
                                                 contract with Walmart
   48   KNOWLEDGELAKE000005729         3/14/18   Email from Gary Wahlig to
              -000005730                         Bernie Schweiss, Steven
                                                 Hovis, cc Jason Burian and
                                                 Brad Porter, RE: Walmart is
                                                 about to open a technology
                                                 research center in Plano’s
                                                 Granite Park
   49   KNOWLEDGELAKE000005731         2/19/18   Email from Gary Wahlig to
                                                 Bernie Schweiss, RE: Walmart
                                                 FY2019 app/dev SOW
